  Case 1:15-cr-00185-JTN          ECF No. 25, PageID.36           Filed 10/20/15      Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Hon. Janet T. Neff
 v.
                                                              Case No. 1:15-cr-00185-JTN-1
 TAKIA MARIE SALAZAR,

            Defendant.
 _________________________________/


                                                ORDER

       This matter is before the Court on the government’s motion for pretrial detention. The

government sought defendant Takia Salazar’s detention on two bases: (1) that she poses a danger to the

community, 18 U.S.C. § 3142(f)(1); and (2) that there is a serious risk that she will attempt to obstruct

justice, or to threaten, injure, or intimidate a prospective witness. 18 U.S.C. § 3142(f)(2)(B). The Court

conducted an evidentiary hearing today at which defendant was represented by counsel.

       For the reasons stated on the record, the Court finds that the government failed to meet its burden

of proving that defendant is a danger to the community, but that the government has proven by clear and

convincing evidence that defendant poses a serious risk of obstructing justice and threatening, injuring,

and intimidating a prospective witness. The Court also finds, as explained on the record, that there is

no condition or combination of conditions that will ensure that the obstructive and intimidating conduct

will not continue. Accordingly,

       IT IS ORDERED that defendant is committed to the custody of the Attorney General pending

further order of this Court.
Case 1:15-cr-00185-JTN   ECF No. 25, PageID.37        Filed 10/20/15    Page 2 of 2




    DONE AND ORDERED this 20th day of October, 2015.

                                             /s/ Phillip J. Green
                                            PHILLIP J. GREEN
                                            United States Magistrate Judge




                                      -2-
